                        Case 4:20-cv-05640-YGR Document 906-2 Filed 03/20/24 Page 1 of 1



             1                               UNITED STATES DISTRICT COURT

             2                             NORTHERN DISTRICT OF CALIFORNIA

             3 EPIC GAMES, INC.,                                  )     Case No. 4:20-cv-05640-YGR-TSH
                                                                  )
             4                             Plaintiff,             )     [PROPOSED] ORDER GRANTING
                                                                  )     LEAVE TO FILE BRIEF AS
             5         v.                                         )     AMICUS CURIAE
                                                                  )
             6 APPLE INC.                                         )     Judge:        Hon. Yvonne
                                                                  )                   Gonzalez-Rogers
             7                             Defendant.             )     Hearing Date: April 30, 2024
                                                                  )     Hearing Time: 2:00 p.m.
             8                                                    )     Courtroom:    1, 4th Floor
             9

        10                      The Court having considered the motion of Spotify USA Inc. (“Spotify”) for leave

        11       to file a brief as Amicus Curiae in support of Plaintiff Epic Games, Inc.’s Motion to Enforce

        12       Injunction, IT IS HEREBY ORDERED that the motion is GRANTED. Spotify shall file the brief

        13       on entry of this Order.

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        15       Dated: ________________, 2024

        16                                                     Yvonne Gonzalez Rogers
                                                               United States District Court
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  SULLIVAN
     &
CROMWELL LLP

                                                        [PROPOSED] ORDER GRANTING LEAVE TO FILE BRIEF AS AMICUS CURIAE
                                                                                     CASE NO. 4:20-CV-05640-YGR-TSH
